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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


                                                                           July 12, 2022
Ted Wayne Evans
Disability Rights Texas
1500 McGowen St
No. 100
Houston, TX 77004
Attorney Admissions Record: 4:17−mc−01365

Dear Counsel:
     The term of your admission to practice before the United States District Court for
the Southern District of Texas will expire one month from the date of this notice.
     Attorney membership renewals should be completed electronically through District
CM/ECF. Instructions on how to renew your membership electronically, including
electronic payment of the renewal fee can be found on the court's website at
             www.txs.uscourts.gov/page/AdmissionsMembershipRenewal.

    If you received this notice electronically, you are a registered Filing User of the
Court's Electronic Filing System (ECF). If you do not remember your login and
password, a written request to obtain your login and password must be submitted by
email to Houston-Atty-Adm@txs.uscourts.gov.
     If you received this notice by mail, you are not a registered Filing User of the
Court's Electronic Filing System (ECF). Under the Courts Administrative Procedures
for our Electronic Filing System (ECF), attorneys admitted to the bar of this Court are
required to register as Filing Users of the Court's Electronic Filing System. Information
on how to become a Filing User can be found on the court's website at
                  www.txs.uscourts.gov/page/DistrictECFRegistration.
Once you have registered, then you may complete your renewal electronically
following the instructions referenced in the second paragraph.


                                                 Sincerely,

                                                 Nathan Ochsner, Clerk of Court
                                                 By: Claire Cassady, Deputy Clerk
